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16
                                  UNITED STATES DISTRICT COURT
17
                                        DISTRICT OF NEVADA
18
      Cung Le, Nathan Quarry, Jon Fitch, Brandon       Case No.: 2:15-cv-01045-RFB-(PAL)
19    Vera, Luis Javier Vazquez, and Kyle
      Kingsbury on behalf of themselves and all
20    others similarly situated,                       ZUFFA, LLC’S REPLY IN
                                                       SUPPORT OF MOTION TO
21                                                     EXCLUDE THE TESTIMONY OF
                    Plaintiffs,
22           v.                                        DR. ANDREW ZIMBALIST
                                                       UNDER FED. R. EVID. 702 AND
23    Zuffa, LLC, d/b/a Ultimate Fighting              DAUBERT
      Championship and UFC,
24                                                     HEARING REQUESTED
                    Defendant.
25                                                     [REDACTED]
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14      2016 WL 4678888 (N.D. Tex. Sept. 7, 2016) .............................................................................. 5
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 1             In opposition to Defendant Zuffa, LLC’s (“Zuffa” or “UFC”) motion to exclude the
 2    testimony of Dr. Andrew Zimbalist, Plaintiffs recast and transform Dr. Zimbalist’s testimony in
 3    an effort to bring it within the scope of admissibility. But the appropriate focus is on Dr.
 4    Zimbalist’s work, not Plaintiffs’ creative interpretation of that work. Dr. Zimbalist’s testimony
 5    remains junk science that must be excluded.
 6       I.       Dr. Zimbalist Conducted No Analysis And Used No Standards In His Yardstick
                  Method.
 7
               In its opening motion, Zuffa showed that Dr. Zimbalist admitted that he did not apply any
 8
      known standards for applying a yardstick method. Mot. 5-9. Dr. Zimbalist even admitted that he
 9
      did not know of the existence of such standards. Mot. 5. In the absence of knowing any
10
      standards for his work, Dr. Zimbalist explained that his yardstick was to use comparators as
11
      similar as possible from those he could find in the field of sports with which he was familiar.
12
      Mot. 4-5. Zuffa showed that standards for a yardstick method do exist and can be used in
13
      “limited situations,” they are not the standards applied by Dr. Zimbalist, and thus his work must
14

15    be rejected based on the accepted methods. Mot. 6-7 (citing Ex. 3,1 Hovenkamp, Federal
      Antitrust Policy).
16
               Plaintiffs dispute the appropriate standard for the yardstick method. According to
17
      Plaintiffs, the standard that Dr. Zimbalist created for this case—that the yardstick need only be as
18
      similar as possible, allowing for any level of dissimilarity—is the correct one. They describe as
19
      “impracticable” the standard (“comparable in all important respects,” Mot. 7 (citing Ex. 7, Areeda
20
      & Hovenkamp, Antitrust Law)) described in the countless cases and antitrust treatises identified
21
      in Zuffa’s motion. Pls. Opp. 52. As a threshold matter, Plaintiffs’ argument misses the point.
22
      Dr. Zimbalist as the purported expert witness must use an accepted, tested, and reliable method
23
      and apply it reliably, and Dr. Zimbalist admitted that he was completely unfamiliar with any
24
      standards for applying the yardstick method and did not use any known standards. Mot. 5-6. Dr.
25
      Zimbalist cannot have reliably applied the appropriate standard if he did not know that standard.
26
27    1 All exhibits cited herein are to the Widnell Declaration submitted in connection with Zuffa’s
      opening Daubert motion unless otherwise stated.
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 1            Plaintiffs’ primary dispute is whether a yardstick must be comparable in all respects, or
 2    something less than that. Pls. Opp. 52. As the numerous treatises and cases cited in Zuffa’s
 3    motion make clear, “one must identify a firm that is truly comparable in order for the inferences
 4    drawn to be reliable rather than speculative.” Mot. 7 (citing Ex. 7, Areeda & Hovenkamp,
 5    Antitrust Law). “Under the yardstick approach the plaintiff attempts to identify a market or firm
 6    similar to the plaintiff in all respects but for the impact of the antitrust violation.” Mot. 6 (citing
 7    Ex. 3, Hovenkamp, Federal Antitrust Policy). And “If an appropriate yardstick is available, it is
 8    important to take into account any differences in costs and the extent of competition between the
 9    yardstick market and the market at issue in the but-for world.” Mot. 7 (citing Ex. 6, Rubinfeld,
10    Research Handbook on the Economics of Antitrust Law). Dr. Zimbalist does not even pretend to
11    meet these standards.
12            Plaintiffs’ reliance on Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195,
13    1222 (9th Cir. 1997) is not to the contrary. The issue in Image Tech was whether there was
14    sufficient evidence to overturn a jury verdict, not whether the expert’s analysis should be
15    excluded pursuant to FRE 702 or Daubert. Plaintiffs’ citation to Tawfilis v. Allergan, Inc., 2017
16    WL 3084275 (C.D. Cal June 26, 2017) is not only selectively quoted, but in fact quotes the very
17    treatise (Antitrust Law) identified in Zuffa’s motion as describing the appropriate standard.
18    Plaintiffs quote Tawfilis as follows: “the yardstick market [should] be as comparable as possible”
19    (emphasis in Plaintiffs’ opposition). Pls. Opp. 52. The actual quote in Tawfilis: “[i]t is also
20    necessary that the yardstick market be as comparable as possible in all respects.” Tawfilis at *6.
21    Plaintiffs cite no authority supporting Dr. Zimbalist’s newly-created standard or refuting the
22    standards Zuffa identified as repeatedly used by economists and courts for the yardstick method.
23            According to Plaintiffs, Dr. Zimbalist properly applied his modified yardstick method
24    because each of his comparators “produce[] a similar product,” have “similar business models”
25    and “similar revenue sources,” and all “use athletes as their primary input” and “share other
26    inputs.” Pls. Opp. 53. As Zuffa explained in its motion, Dr. Zimbalist does not actually know if
27    any of these assertions by Plaintiffs’ counsel are true, because he conducted no empirical analysis
28    to determine their veracity. Mot. § I.D. Plaintiffs do not and cannot identify any part of Dr.

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 1    Zimbalist’s two expert reports or two depositions in which he empirically analyzes product
 2    markets, business models, revenue sources, or inputs. Dr. Zimbalist has neither analyzed these
 3    aspects of the comparators, nor compared them to Zuffa to determine if they are the same or
 4    similar. Mot. 10 (citing Ex. 2 at 157:10-17). Nor has he considered any of the other factors that
 5    must be assessed using the yardstick method, including (for example) demand conditions or
 6    whether the comparators stand in the same relative position in their markets. Mot. 6-7.
 7           Contrary to Plaintiffs’ assertions, the reliability of the yardstick method is an issue of
 8    admissibility, not weight (Pls. Opp. 56), as evidenced by the myriad courts which have excluded
 9    yardstick analyses under FRE 702 and Daubert. Mot. 13-14 and n.9. Plaintiffs appear to believe
10    that because the UFC and the comparators are sports, their businesses must be the same, and
11    because Dr. Zimbalist is a sports economist, he can offer this opinion without support. This is the
12    hallmark opinion reliant entirely on “the ipse dixit of the expert” that must be excluded. Gen.
13    Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).
14

15                                             Zuffa has not done damage estimates, including for
16    antitrust cases, using a yardstick method.
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20           Plaintiffs ignore the many differences identified by Prof. Blair between MMA and the
21    comparators, Mot. § 1.D, and respond to only one of those obvious differences: that the four
22    league sport comparators are unionized and Zuffa would not be unionized in Dr. Zimbalist’s but-
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 1    for world. Prof. Blair observed that MMA is different than Dr. Zimbalist’s comparators for many
 2    reasons, including because they offer different products, have different demand conditions and
 3    different business models, and the leagues have player drafts, salary minimums, salary caps,
 4    luxury taxes, and restricted free agency, among other differences. Ex. 8 ¶¶ 63-68. According to
 5    Plaintiffs, unionization is irrelevant because even in unionized sports, players negotiate for their
 6    individual salaries. Pls. Opp. 61. Neither Dr. Zimbalist nor Plaintiffs are measuring damages in
 7    this case using individual salaries—they measure damages by wage share. In the four league
 8    comparators, the unions negotiate for a defined wage share. This would not happen in the but-for
 9    world where Zuffa did not engage in the challenged conduct. In that but-for world (as in the real
10    world), Zuffa’s wage share would be determined in part by the sum of hundreds of negotiations
11    with individual athletes. It is highly speculative for Dr. Zimbalist to assume without foundation
12    that these hundreds of negotiations would add up to a similar wage share as the contractually
13    defined wage shares collectively bargained by the unions in the comparator sports.3 Mot. 12.
14       II.      Using Wage Share Does Not Itself Allow Comparisons Across Firms.
15             Plaintiffs offer wage share as a panacea for the shortcomings of Dr. Zimbalist’s yardstick
16    analysis. Plaintiffs claim that “Dr. Zimbalist controls for relative differences in quality and
17    popularity by using Wage Share” and that “Dr. Zimbalist controls for many of the variables Zuffa
18    identifies, such as location, facility condition, and demand for the sport, by comparing the ratio of
19    compensation to revenue.” Pls. Opp. 57-58. Plaintiffs cite no authority for the proposition that
20    the metric used to measure damages—wage share or otherwise—can account for the differences
21    between firms in a yardstick analysis. This would turn the yardstick method on its head. Even
22    accepting that wage share is an appropriate metric (it is not), the yardstick method requires a
23    determination that the comparator firms are similar in all important respects before comparing
24
      3 As with many of the so-called “admissions” identified by Plaintiffs, Prof. Blair did not admit (as
25
      Plaintiffs claim) that MMA athletes generate a similar amount of revenue than athletes in Dr.
26    Zimbalist’s comparators. Pls. Opp. 51 n.97, 57 n.105. Prof. Blair testified merely that “I haven’t
      thought about that specifically, so as I sit here today, I don’t really have an informed response for
27    you.” Cramer Decl. Ex. 59, 315:1-8. This is unsurprising. As Prof. Blair explained in his report
      and Dr. Zimbalist admitted, there is no way to measure or prove this assumption. Mot. § II.
28

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 1    their wage share. Plaintiffs’ approach is no different than using profit margin instead of actual
 2    profits to compare two businesses that are substantially different, an approach that courts have
 3    rejected. Thermotek, Inc. v. Orthoflex, Inc., 2016 WL 4678888, at *10, *12 (N.D. Tex. Sept. 7,
 4    2016), aff'd sub nom. 875 F.3d 765 (5th Cir. 2017) (excluding yardstick analysis using profit
 5    margin as relevant metric where companies were not comparable).
 6              If wage share itself could explain the differences between firms, then any two firms could
 7    be compared using the yardstick method as long as they had employees and revenue. This would
 8    be true even if, for example, the two firms had vastly different non-wage costs, meaning a given
 9    wage share for one company would bankrupt the comparator firm. This is clearly not what is
10    contemplated by the yardstick method. The yardstick method is rigorous enough that courts have
11    rejected expert testimony comparing offices in the same company. CDW LLC v. NETech Corp.,
12    906 F. Supp. 2d 815, 824 (S.D. Ind. 2012). It is therefore not plausible that using wage share
13    alone can account for differences between firms—particularly the obvious and glaring differences
14    between Zuffa and Dr. Zimbalist’s comparators.
15       III.      The Comparator Dr. Zimbalist Claims Is Closest To MMA—Boxing—Is Flawed.
16              Dr. Zimbalist identifies boxing as the lone comparator in his yardstick analysis that has
17    even a facial similarity to the product offered by Zuffa. Ex. 1 ¶ 89. And even Dr. Zimbalist
18    admits that given the inadequacies of the boxing data he relies on, he would not reach his
19    damages opinions based on boxing alone. Mot. 22 (citing Ex. 2 at 153:1-16). As explained in
20    Zuffa’s motion, Dr. Zimbalist’s boxing analysis is premised on faulty data. Mot. § III. Dr.
21    Zimbalist uses a single boxing promoter (Golden Boy) to measure the entire boxing industry. Dr.
22    Zimbalist uses Golden Boy data derived from publicly available excerpts of the Expert Report of
23    Gene Deetz—data which Dr. Zimbalist did not independently verify. Id. Plaintiffs claim in their
24    opposition that Dr. Zimbalist did verify the Deetz data, but Dr. Zimbalist admitted in deposition
25    testimony that he “didn’t take any steps to independently verify the data” from Deetz. Mot. 21
26    (citing Ex. 9 at 152:20-24). Plaintiffs say that he did review other “data,” but those data were
27    backup tables also created by Deetz, which are among the data Dr. Zimbalist did not
28    independently verify. Dr. Zimbalist has not reviewed the Bates-numbered documents cited in the

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 1    Deetz report as the data sources for Deetz’s analysis. Id. Nor has Dr. Zimbalist spoken to Deetz
 2    to determine how Deetz made the calculations reflected in any of his charts, or identified the
 3    purposes behind the Deetz report. Id.
 4

 5           Dr. Zimbalist did not do the type of independent verification that is required to ensure his
 6    analysis is reliable. Mot. 20-21 (citing cases); In re ConAgra Foods, Inc., 302 F.R.D. 537, 556
 7    (C.D. Cal. 2014) (excluding testimony where expert relied on third party data without
 8    “independent evaluation of that evidence”). Plaintiffs cite no evidence or authority that excerpts
 9    of an expert report which happen to be available on a public docket are the type of evidence
10    normally relied on by economists to calculate antitrust damages.4
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14    But this “egregious discrepancy” proves the unreliability of Dr. Zimbalist’s boxing analysis. It is
15    not clear why the discrepancy exists, and Plaintiffs made no effort in discovery to clarify it. For
16    example, their expert could have spoken to Deetz
17                      , as they did for other boxing promoters (Top Rank, DiBella Entertainment, and
18    Warriors Boxing).
19
20                      This speculation renders Dr. Zimbalist’s boxing analysis unreliable, which in
21    turn renders Dr. Zimbalist’s average yardstick, and thus his damages estimate, unreliable.
22

23    4 Plaintiffs’ reliance on Gray v. United States, 2007 WL 4644736 (S.D. Cal. Mar. 12, 2007) and
      cases cited therein is inapposite. In that case, the Court held that a vocational expert’s report
24    which included some information gathered from a recruiter would not be excluded because,
25    among other reasons, (1) other vocational experts, including the moving party’s own expert in
      that case, regularly used this type of recruiter information; (2) the vocational expert herself had
26    contacted recruiters for purposes of generating the report; and (3) the expert had relied on a litany
      of other data sources in the report. Id. at *6-8. In this case, Dr. Zimbalist relies entirely on the
27    Deetz data and has made no showing that economists regularly rely on such hearsay data in their
      analysis.
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 4    differs significantly from Dr. Zimbalist’s choice to pull unverified numbers from a chart of a
 5    redacted expert report. Ex. 8 ¶ 70. Second, even assuming Prof. Blair’s numbers were
 6    incomplete, that fact would not make Dr. Zimbalist’s data reliable or his opinions admissible.
 7    Mot. § III. If Plaintiffs thought that Prof. Blair’s data was unreliable, they had the opportunity to
 8    seek to exclude his testimony through a Daubert motion, but chose not to do so.
 9           Plaintiffs claim that Dr. Zimbalist’s boxing analysis is based not only on the Deetz Golden
10    Boy data, but also on unverified anecdotal evidence from two other boxing promoters. Pls. Opp.
11    63. This is incorrect. Dr. Zimbalist’s actual damages estimate is based only the Deetz data. Ex.
12    1 ¶¶ 111-12. Dr. Zimbalist’s additional “data” points are not actually used for his damages
13    calculation. Even if they were, these “data” points are unreliable according to Plaintiffs’ own
14    logic. Dr. Zimbalist cannot rely on unverified anecdotal information from other boxing
15    promoters to support his analysis.
16           Dr. Zimbalist’s boxing analysis is also flawed because he cannot show that the difference
17    between boxing and Zuffa (to the extent it exists) is explained by the Zuffa contractual provisions
18    Plaintiffs challenge. Even if one were to accept that boxing has a higher wage share than Zuffa
19    (which Dr. Zimbalist has not reliably shown), that difference could not possibly be explained by
20    Zuffa’s contracts because boxing has nearly identical contracts.
21

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23                                                                                   5 Dr. Zimbalist

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      5 Ex. 15 to Widnell Decl. ISO Reply (“Widnell Reply Decl.”), Top Rank Inc. Promotional Rights
27    Agreement, at § 1 (exclusivity clause, ancillary rights clause), § 2(a) (five year term); § 2(b)-(c)
      (cut clauses); § 5(a) (right to match); § 6 (30-month champion’s clause); § 11 (tolling provisions).
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 1    cannot plausibly argue that Zuffa’s contracts caused its wage share to be lower than boxing when
 2    boxing has the same contracts.6 Mot. 13.
 3       IV.      Dr. Zimbalist’s Reports Do Not Support Dr. Singer’s Analysis Or Vice Versa.
 4             Plaintiffs claim that Dr. Zimbalist “opines that Zuffa’s Scheme is anticompetitive,” Pls.
 5    Opp. 50, but Dr. Zimbalist specifically disclaimed such an opinion in his deposition. Ex. 2 at
 6    43:24-44:9. That is all that is required to reject Plaintiffs’ counsel argument attempting to link
 7    Dr. Zimbalist’s report to conclusions about anticompetitive conduct. Plaintiffs also claim that Dr.
 8    Zimbalist “confirms the reasonableness of Dr. Singer’s analysis of Bout Class damages.” Pls.
 9    Opp. 50. Dr. Zimbalist did not identify this as within the scope of his assignment, Ex. 1 ¶ 4, and
10    Dr. Singer’s name is not referenced a single time in either of Dr. Zimbalist’s reports.
11             Plaintiffs then allege that Dr. Zimbalist need not “show that the Scheme caused injury”
12    because “Dr. Singer addresses causation and fact of damage” and Dr. Zimbalist “calculates the
13    amount of damages” only. Pls. Opp. 60 (emphasis omitted); see also Ex. 2 at 43:24-25 (stating
14    only that he is “not doing a liability report”). Dr. Singer’s analysis cannot support Dr. Zimbalist’s
15    damages estimate. The two experts identify different conduct alleged to be anticompetitive.7
16    Nowhere does Dr. Zimbalist claim that the damages he measures were caused by the conduct Dr.
17    Singer identified as anticompetitive. Rather, Dr. Zimbalist must connect his damages estimate to
18    the challenged conduct, which he failed to do. Mot. § I.F.
19
20    6 Plaintiffs appear to suggest that the Ali Act bars any boxing contract lasting more than 12
      months. Pls. Opp. 56 n.103. This is not accurate. The Ali Act bars any contract with a “coercive
21    provision” lasting more than 12 months, and defines a “coercive provision” as “a contract
      provision that grants any rights between a boxer and a promoter, or between promoters with
22
      respect to a boxer, if the boxer is required to grant such rights, or a boxer’s promoter is required
23    to grant such rights with respect to a boxer to another promoter, as a condition precedent to the
      boxer’s participation in a professional boxing match against another boxer who is under contract
24    to the promoter.” 2000 Enacted H.R. 1832, 106 Enacted H.R. 1832, 114 Stat. 321, §10(a)(1)(B).
      The Act does not address any of the Zuffa contractual provisions Plaintiffs challenge in this case,
25    nor limit contracts to less than 12 months
26
      7 Dr. Singer identifies the number of athletes signed to exclusive contracts with a 30-month or
27    longer duration as causing damages, whereas Dr. Zimbalist claims that any conduct which
      reduced the amount of competition in MMA would cause the damages he estimates. Mot. 17.
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 1

 2    Dated: May 7, 2018                 BOIES SCHILLER FLEXNER LLP
 3

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 1                                        CERTIFICATE OF SERVICE
 2            The undersigned hereby certifies that service of the foregoing Zuffa, LLC’s Reply In
 3    Support Of Motion to Exclude The Testimony of Dr. Andrew Zimbalist was served to
 4    opposing counsel on May 7, 2018 via email and the Court’s CM/ECF electronic filing system
 5    addressed to all parties on the e-service list.
 6

 7                                                            /s/ Roderick Crawford
 8                                                      An employee of Boies Schiller Flexner LLP
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